Case 6:09-cv-00139-LED Document 164 Filed 01/10/12 Page 1 of 1 PageID #: 1572




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 CLEAR WITH COMPUTERS, LLC,                                §
                                                           §
         Plaintiff,                                        §
                                                           §
 vs.                                                       §
                                                           §
 HYUNDAI CONSTRUCTION EQUIPMENT                            §
 USA INC., HYUNDAI HEAVY INDUSTRIES,                       §      CASE NO. 6:09 CV 139
 CO., LTD., BERGDORF GOODMAN, INC.,                        §      PATENT CASE
 BERGDORFGOODMAN.COM, LLC, CHICO’S                         §
 BRANDS INVESTMENTS, INC., CHICO’S                         §
 FAS, INC., CHICO’S RETAIL SERVICES,                       §
 INC., DELTA FAUCET COMPANY, KATE                          §
 SPADE LLC, MASCO CORPORATION,                             §
 MASCO RETAIL CABINET GROUP, LLC,                          §
 NEIMAN MARCUS INC., NEIMAN MARCUS                         §
 GROUP, INC., and PACIFIC SUNWEAR OF                       §
 CALIFORNIA INC.                                           §
                                                           §
         Defendants.                                       §

                                              ORDER

       This case was consolidated with Cause No. 6:09cv481 (“the ‘481 case”) (Docket No. 162)

for all purposes, with the ‘481 serving as the lead case. On July 18, 2011, the Court entered an order

dismissing the ‘481 case with prejudice as to all defendants. All disputes between all parties have

been resolved. Accordingly, this case is also dismissed. The Clerk is ORDERED to close the case.

        So ORDERED and SIGNED this 10th day of January, 2012.




                                __________________________________
                                LEONARD DAVIS
                                UNITED STATES DISTRICT JUDGE
